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        April 14, 2022



        By E-mail: JMS@SSPfirm.com


        Joshua M. Smith
        2623 Erie Avenue
        Cincinnati, Ohio 54208

        Re:       McHugh v. Fifth Third Bancorp, et al.,
                  Case No 1:21:CV-00238 (S.D. Ohio)

        Dear Counsel,

                 I write on behalf of RHR International LLP (“RHR”) in response to Philip R. McHugh’s
        purported subpoena to RHR (the “Subpoena”) in the above-referenced matter. The Subpoena
        was improperly issued because it requires compliance beyond the 100-mile geographic limit set
        forth in Fed. R. Civ. P. 45(c)(2).

               We note that the requests for production attached to the Subpoena as Exhibit A are for
        documents necessarily in the possession of named parties to the case which we understand have
        already been the subject of production. Further, the Subpoena calls for the production of
        information and documents that are privileged, irrelevant to the named parties’ claims and
        defenses, and disproportionate to the needs of the case. The Subpoena is thus overly
        burdensome and inappropriate for a third party like RHR.

                  Accordingly, please confirm that Plaintiff McHugh will withdraw the Subpoena.

        Very truly yours,




        Christopher A. Bloom




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                                                                                                     Exhibit 2
